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                                                                r L
           IN THE UNITED STATES DISTRICT COURT FOR Z'JW




                                                                   'z1
                   SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION
                                                        2009 SEP



UNITED STATES OF AMERICA,        *                          Q
                                 *
            V.                   *         CR 108-061
                                 *
CALVIN LEE STEVENSON, JR.,       *
                                 *
      Defendant.                 *




                            ORDER


      The captioned criminal matter is before the Court on

Defendant's second motion for a new trial. (Doc. no. 19.)

Defendant argues that he was deprived of his Sixth

Amendment right to counsel. Based on the pleadings, the

record, and the relevant law, Defendant's motion is

GRANTED.



                           I. BACKGROUND

      Defendant Calvin Lee Stevenson, Jr., was arrested on

June 26, 2008 and charged in Richmond County Superior Court

on several counts including armed robbery. Stevenson's

father hired local attorney Gregory Leopard and paid him a

retainer of $5,000 to represent his son on the Superior

Court charges.      On March 20, 2008, a complaint was filed


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 against Stevenson and three co-defendants in this Court.'

    (Doc. no. 1.) Under the Criminal Justice Act, this Court

will appoint an attorney admitted to the Southern District

of Georgia to represent an indigent criminal defendant

    ("CJA appointment") . In order to receive a CJA

appointment, the normal procedure for this Court is to have

the defendant sign an affidavit swearing that he cannot

afford representation. The Clerk, who maintains a rotating

list of attorneys admitted to the district, will appoint an

attorney on the list to represent the indigent defendant.

        On March 26, 2008, the Honorable W. Leon Barfield,

United States Magistrate Judge, appointed Leopard to

represent Stevenson. (Doc. no. 21.) However, the record

in this case does not reflect that Stevenson signed an

indigency affidavit, but there were some indications in the

Pre-Trial Services Report that he was indigent. 2 It is also

unclear from the record whether Stevenson understood that

although he had retained Leopard for the Superior Court

charges, this Court was considering him indigent and thus




1
  The Superior Court charges were placed on the "dead docket."
2
   Although not part of the record, the Pre-Trial Services Report
prepared for the Magistrate Judge by the U.S. Probation Office does
have a section regarding finances which indicated that Stevenson's only
asset was a 1978 Cutlass Supreme valued at approximately $1,000.
(Rpt., p. 2.) The report also states that Stevenson was unemployed.
(id. at 1.)
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had appointed Leopard to represent him on the federal

 charges .

      The relationship between Stevenson and Leopard

apparently deteriorated over the course of the next few

months. On September 26. 2008, Stevenson filed a complaint

against Leopard with the State Bar of Georgia. In response,

Leopard filed a motion to withdraw as Stevenson's attorney

on October 10, 2008. (Doc. no. 122.) An ex parte hearing

on this motion was held before the Magistrate Judge on

October 14, 2008.

      At the hearing, the Magistrate Judge initially

attempted to resolve any confusion as to how Leopard was

retained for the state charges but appointed for the

federal charges. The Magistrate Judge asked Leopard if it

was merely a coincidence that he was appointed to this case

after being retained in state court. Leopard replied, "I

don't know what the mechanisms are to appoint me. I know

that sometimes it happens and sometimes it does not." (Doc.

   Stevenson and two of his co-defendants, Andre Lewis and Jeremiah
Garrett, appeared in front of the Magistrate Judge on March 27, 2008
for their initial appearance based on the filing of the complaint that
initiated this case. (Doc. no. 2.) Lewis was present with an
attorney. The docket reflects that Lewis retained this attorney, and
the attorney entered a notice of appearance on the date of this
hearing. (Doc. no. 9.) Garrett was unrepresented at the hearing. The
Magistrate Judge informed him that he could either hire an attorney or
the Court would appoint one for him. The record reflects that Garrett
later signed an affidavit swearing he was indigent and received a CJA
appointed attorney. Leopard was present at this initial appearance to
represent Stevenson, but no mention is made at the hearing whether
Leopard was appointed or retained. Again, the docket simply reflects
that Leopard was appointed, but not that Stevenson had in fact sworn he
was indigent.
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 no. 132 at 5.) The Magistrate Judge asked Leopard if he

 contacted the Clerk to let her know he was retained on the

 state level and wanted to be appointed on the federal case.

 Leopard replied, 'No, your Honor. I feel quite confident

 that didn't happen." (Id. at 6.) The Magistrate Judge

next inquired whether Stevenson filed a financial affidavit

 indicating that he was indigent. The Clerk stated she was

 sure he had, but she could not find it in the original

 file. (Id. at 6-7.) The Magistrate Judge, still not

 satisfied that Leopard's appointment was pure coincidence,

stated that he would like for the Clerk to clarify this if

possible. (Id. at 7.)

      Toward the end of the hearing. Leopard raised the

issue of his appointment once again. He stated, 'I believe

every time I'm hired in a State case and then it becomes a

Federal case, or I'm notified that it may or is going to

become, I believe that I do call the court and let them

know. I believe that I do, and just let them know, look,

I'm in the case." (Id. at 20.) The Magistrate Judge

stated that he did not believe Leopard had done anything

wrong in regards to his appointment because lawyers

generally charge more to represent a defendant in Federal

Court than in State Court.             Thus, the Magistrate Judge

stated, 'I'm not saying that I think Mr. Stevenson's


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 affidavit, that was obviously filed in court saying he was

 indigent, was anything but accurate. So my appointment of

you representing him in this case is fine as far as I'm

 concerned."     (Id. at 21.)

       The majority of the hearing was spent discussing

 Stevenson's bar complaint against Leopard. After the

 discussion, the Magistrate Judge concluded that their

problem was simply a failure to communicate. (Id. at 18.)

The Magistrate Judge told Stevenson that while he was not

 sure how Leopard was appointed to his case, he should

 consider himself lucky because Leopard was an experienced

and knowledgeable defense attorney. (Id. at 16.) The

Magistrate Judge then informed Stevenson "you are entitled

 to Court-appointed counsel. I have appointed Mr. Leopard to

represent you in this case and that's it. You are not

entitled to counsel of your own choice. Your filing a bar

complaint against a lawyer is not going to get him relieved

in your case so you can have another lawyer." (Id. at 16-

17.)     Stevenson confirmed that he did not want another

attorney.      (Id. at 17.)

       The Court notes that although Stevenson now claims

that Leopard was appointed "without [his] knowledge or

consent, (doc. no. 211, ¶ 2), the ex parte hearing is

replete with reference to the appointment of Leopard, as


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well as Stevenson's presumed indigent status. For example,

when the Magistrate Judge raised the issue of how Mr.

Leopard came to be appointed in the federal case, he asked,

 "I take it that Mr. Stevenson filed a financial affidavit

with the probation office indicating he was indigent. Is

 that correct?" (Id. at 6.) Leopard answered in the

affirmative, and Stevenson did not contradict that

 response. (Id.) Later in the hearing the Magistrate Judge

again stated that Stevenson had filed an affidavit stating

 that he was indigent, and Stevenson again failed to

contradict that statement. (Id. at 21.)

      At the conclusion of the hearing, the Magistrate Judge

 instructed Leopard and Stevenson to meet and discuss

Leopard's continued representation of Stevenson in the

case. (Id. at 18.) If they were unable to resolve their

conflicts, the Magistrate Judge stated that he would 'bring

Mr. Stevenson back in and explain to him that he's going to

have to represent himself" which would be 'an act of

lunacy." (Id. at 17-18.) However, the Magistrate Judge

also stated that if Stevenson could not work out his

problems with counsel, he would be brought back to court

again to review the consequences of a waiver of counsel.

 (Id. at 22)




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      Stevenson elected to continue to allow Leopard to

 represent him. The case proceeded to trial, and on

 February 19, 2009, a jury convicted Stevenson on all

 charges.



                           II. DISCUSSION

      The Sixth Amendment states "in all criminal
prosecutions, the accused shall enjoy the right . . . to

have the Assistance of Counsel for his defense." The

Supreme Court holds that the assistance of counsel is "one

of the safeguards of the Sixth Amendment deemed necessary

to insure fundamental human rights of life and liberty. The

Sixth Amendment stands as a constant admonition that if the

constitutional safeguards it provides be lost, justice will

not 'still be done.'" Gideon v. Wainwright, 372 U.S. 335,

343 (1963) (quoting Johnson v. Zerbst, 304 U.S. 458, 462

 (1938)). The Court has further held that where a

defendant does not require appointed counsel, he "should be

afforded a fair opportunity to secure counsel of his own

choice." United States v. Gonzalez-Lopez, 548 U.S. 140,

144 (2006) (quoting Powell v. Alabama, 287 U.S. 45, 53

 (1932)) . In Gonzalez-Lopez, the Supreme Court considered a

district court's denial of a pro hac vice admission request

filed by defendant's attorney of choice.             Id.   The Court


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determined that the district court wrongly denied the

attorney's application and thus wrongly denied the

defendant his counsel of choice. Justice Scalia, writing

for the majority, stated "where the right to be assisted by

counsel of one's choice is wrongly denied . . . it is

unnecessary to conduct an ineffectiveness or prejudice

inquiry to establish a Sixth Amendment violation.

Deprivation of the right is 'complete' when the defendant

is erroneously prevented from being represented by the

lawyer     he    wants,    regardless      of    the    quality of

representation he received." Id. at 148. The Court

further stated that while "a choice-of-counsel violation

occurs whenever the defendant's choice is wrongfully

denied," this holding would not disturb the Court's

previous holdings that "the right to counsel of choice does

not extend to defendants who require counsel to be

appointed for them."         Id. at 150-51 (emphasis supplied)

(citing Wheat v. United States, 486 U.S. 153, 159 (1988)).

      The Eleventh Circuit has noted that for Gonzalez-Lopez

to apply, there must be a showing that the defendant was

"wrongly" or "erroneously" deprived of his choice of

counsel.    United States v. Zangwill, 197 Fed. Appx. 888,

891 n.l (11th Cir. 2006) .         Here, the fact that Stevenson

filed a bar complaint against his attorney indicates that


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he was unhappy with his representation.              The Magistrate

Judge conducted the ex parte hearing on Leopard's motion to

withdraw under the assumption that Stevenson had initially

declared himself indigent and requested to have counsel

appointed. Despite indications of indigency in the Pre-

Trial Services Report and Stevenson's failure to correct

the misapprehension at the ex parte hearing that he had

filled out an indigency affidavit, the Court can find no

record of a financial affidavit.

      Although the record is clear that the Magistrate Judge

understood the significance of whether Stevenson had

requested court-appointed counsel, unfortunately the

information provided on the existence of an indigency

affidavit was consistently erroneous, and Stevenson chose

not to correct the mistaken information. Harboring this

misapprehension about Stevenson's iridigency, the Magistrate

Judge thus instructed Stevenson that he only had two

choices: remain with Leopard or proceed pro se. At no time

did the Magistrate Judge inform Stevenson that he had the

option of firing Leopard and retaining new counsel.

      This Court will not place the onus on a criminal

defendant to be aware of the difference in his Sixth

Amendment rights between having retained counsel and

appointed counsel, particularly when, based on incorrect


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 information provided to the judicial officer by numerous

 sources, that defendant is directly instructed that he is

 not entitled to counsel of his choice. Nonetheless,

 because the record is devoid of a financial affidavit of

 indigency from Stevenson, the Court concludes that error

 occurred when Stevenson was informed at the ex pa-rte

 hearing that his only choices were to proceed with Leopard

 or represent himself. Stevenson should have been afforded

 an opportunity to retain counsel of his choice. Since that

did not occur, under Gonzalez-Lopez, Stevenson was deprived

of his Sixth Amendment right to counsel and is entitled to

a new trial.



                           III. CONCLUSION

      Upon the foregoing, Defendant's motion for a new trial

 (doc. no. 198) is GRANTED.

      ORDER ENTERED at Augusta, Georgia, this            /j)   day of

September, 2009.




                                      L J. RI1AL HALL
                                      STATES DISTRICT JUDGE
                                   aERN DISTRICT OF GEORGIA




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